     Case 19-00064-LT13             Filed 04/25/19     Entered 04/25/19 11:50:02           Doc 36        Pg. 1 of 1


                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF CALIFORNIA

                                                   Minute Order
Hearing Information:
                                                                                                                        0.00
                     Debtor:   JAMES A & NORMA O. DAVIDSON CALWELL
               Case Number:    19-00064-LT13           Chapter: 13
      Date / Time / Room:      THURSDAY, APRIL 25, 2019 10:00 AM DEPARTMENT 3
       Bankruptcy Judge:       LAURA S. TAYLOR
        Courtroom Clerk:       RUSSELL PALUSO
          Reporter / ECR:      JENNIFER GIBSON

Matter:
              MOTION FOR RELIEF FROM STAY, RS # KAZ-1 FILED ON BEHALF OF U.S. BANK TRUST, N.A.



Appearances:

        NO APPEARANCES

Disposition:                                                                                               1.00


        Off calendar pursuant to the Court's Tentative Ruling. Order on relief entered 4/19/19 via dkt
        #33.




Page 1 of 1                                                                                          4/25/2019    11:47:17AM
